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Fn.a) ev _____ D_c
IN THE UNITED STATES DISTRICT COURT '

FOR THE WESTERN DISTRICT OF TENNESSEEQSAUG_S PH |_38

WESTERN DIVISION

 
     
  

    
  

 

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VINCENT BASS,
Plaintiff,
vs. No. 04-2318~Ma/P

FEDERAL EXPRESS CORPORATION,

Defendant.

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ORDER DENYING MOTION TO COMPEL PLAINTIFF'S FORMER ATTORNEYS
TO CONTINUE THE REPRESENTATION

 

On January 19, 2005, plaintiff's attorneys filed.a motion
to withdraw as counsel in this case. The stated reason for the
motion was that communication between the plaintiff and his
attorneys “have deteriorated to such a point that further
representation is impossible.” The memorandum filed by plaintiff's
attorneys also stated as follows:

Bradley W. Eskins would state, however, that he will

provide a list of possible attorneys with whom Vincent
Bass may consult in order to obtain substitute counsel
and that he will assist Vincent Bass in any way possible
to the extent reasonably practicable to protect Vincent
Bass’ interests by surrendering his file and by
cooperating with substitute counsel to insure that
Vincent Ball’ rights are not prejudiced by the withdrawal
of his attorney in this case.

The certificate of consultation represented that plaintiff had been

informed that the motion to withdraw would be filed, and plaintiff

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raised no objection. Plaintiff also raised no objection before this
Court. Accordingly, the Court issued an order on January 20, 2005
granting that motion to withdraw.

Subsequently, on June 3, 2005, plaintiff filed a motion
seeking to compel his former attorneys to continue the
representation. As a preliminary matter, the Clerk should not have
filed the motion, as it is not accompanied by a certificate of
service demonstrating that a copy has been sent to defense counsel,
as required by Fed. R. Civ. P. B(a) & (d). In addition, because of
the nature of this motion, a copy should have been served on
defendant's former attorneys in order to permit them the
opportunity to respond.

In order to avoid the filing of unnecessary motions,
however, the Court will briefly address the merits of the
plaintiff's motion. The fact that plaintiff has been unable to find
substitute counsel willing to accept the case is not good cause to
compel plaintiff’s former attorneys to represent him. “There is no
constitutional or . .. statutory right to counsel in federal civil
cases.” Farmer v. Haas, 990 F.2d 319, 323 (7th Cir. 1993).
Plaintiff's former attorneys showed good cause for withdrawing, and
plaintiff did not object to the withdrawal. The order granting the
motion to withdraw imposed no conditions or limitations. In

particular, as plaintiff's former attorneys no longer represent

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him, it would not be appropriate for them to provide him with legal

advice concerning the prosecution of this action.

Accordingly, plaintiff's motion is DENIED. He is advised
that, if he desires to continue the prosecution of this action, he
will have to proceed pro §§ unless he can find another attorney on

his own who is willing to represent him.1

IT IS SO ORDERED this h Vl\ day of August, 2005.

M<//’M___

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

1 As noted in the Court‘s May 14, 2004 order, plaintiff is not eligible
for appointed counsel because he is not indigent.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CV-023 l 8 Was distributed by faX, mail, or direct printing on
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Vincent Bass
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Honorable Samuel Mays
US DISTRICT COURT

